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                                                                October 19, 2020
                                      Fact discovery and non-expert depositions shall now be completed
BY ECF                                by December 3, 2020. The October 20 case management conference
Honorable Edgardo Ramos               is adjourned to December 9, 2020, at 10:30 a.m.
United States District Judge
                                      SO ORDERED.
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.                                                                               10/19/2020
New York, NY 10007-1312

        Re:      Ortiz Ochoa v. Prince Deli Grocery Corp. et al.
                 Case No. 18-cv-9417

Dear Judge Ramos:

        This office represents Plaintiff in the above referenced matter. We write jointly with
Defendants’ counsel to respectfully request a 45-day extension of fact discovery and adjournment
of the conference currently set for October 20, 2020. This is the third request of its nature. All
previous requests were granted.

        The reason for this request is that Defendants are still in the process of answering Plaintiffs’
First Request for the Production of Documents and First Set of Interrogatories, served on July 10,
2020. Parties thus request an extension to allow Defendants to complete these requests and allow
Plaintiffs time to conduct depositions.

        Thus, the Parties respectfully request that: (i) the fact discovery completion deadline &
non-expert deposition completion deadline be extended from October 19, 2020 until December 3,
2020 and (ii) the October 20, 2020 case management conference be adjourned to a date and time
set by the Court after December 3, 2020.

        We thank the Court for its attention to this matter

                                                             Respectfully Submitted,

                                                             /s Clela Errington

                                                             Clela A. Errington, Esq.

Cc: All counsel via ECF



                          Certified as a minority-owned business in the State of New York
